l
Case 2:05-cr-20085-.]DB Document 10 Filed 07/05/05 Page 1 of 5 _PagelD 5

UNITED STATES DlSTRlCT COUFlT
WESTERN D|STR|CT OF TENNESSEE
MEN|PH|S DlV|SlON

Piic§§f) £`_`i‘r _` b_";_'!TF.C.

QaJtiL,-s. PH §='1,3
UN|TED STATES OF AMER|CA

ii '
ii
iii
,i
1

. »LEr
-v- 2:05th20035-01-rssr/C___j,;.-;E 7
2:030320412-01-\3

l
2

   

'§ §§ ;i §
garcth
HIS

_\
l_

     

»’
v =\rt|l'ilv

TAMARKI SHARKEY
J. Patten Brown FPD
Defense Attorney
200 S. Jefferson, Suite 200
Memphis, TN 38103

 

 

JUDGNIENT |N A CR|N||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the information on March 10, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense:

Date Count
Tiue & section M,Lffense Offense !~_ILber(_s_l
Concluded
18 U.S.C. § 3146 (a)(1) Fai|ure to Appear 05/24/2004 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

Count1 of the indictment in 2:030R20412-B is dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitutionl costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 719/1974 June 30. 2005
Deft’s U.S. Marshai No.: 19301-076

Defendant’s Mai|ing Address:
932 Co||ege Park #202
Memphis, TN 38126 /

 

\L oANlEL BFiEEN
u lTED sTATEs olsTHloT JuDeE
/*'

Jury 5 , 2005

This document entered on the docket sheet ln compliance
with sure 55 and/or 32(b) Fnch on 7' “

/O

Case 2:05-cr-20085-.]DB Document 10 Filed 07/05/05 Page 2 of 5 Page|D 6

Case No: 2:050Ft20085-01-B Defendant Name: Tamarki SHARKEY Page 2 of 4
lMPRlSONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a total term of 36 Months (30 months as to 18 U.S.C. §3146
and 6 months as to 18 U.S.C. §3147).
The Court recommends to the Bureau of Prisons:

- Placement as close to Memphis, Tennessee, as possib|e.

The defendant is remanded to the custody of the United States l\/larsha|.

RETURN

| have executed this judgment as tollows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

Case 2:05-cr-20085-.]DB Document 10 Filed 07/05/05 Page 3 of 5 PagelD 7

Case No: 2:05CR20085»01-B Defendant Name: Tamarki SHAFiKEY Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed bythe court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
8. The defendant shall refrain from the excessive use of aicohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributedl or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

Case 2:05-cr-20085-.]DB Document 10 Filed 07/05/05 Page 4 of 5 PagelD 8
Case No: 2:050Ft20085-01-B Defendant Name: Tamarki SHAFtKEY Page 4 of 4

10. The defendant shali not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penaities sheet of this judgment.

ADD|T|ONAL CONDITIONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. Participate in substance abuse testing and treatment programs as directed by the Probation
Officer.

2. Seek and maintain full time employment

3. Cooperate with DNA collection as directed by the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$1 00.00
The Special Assessment shall be due immediately

F|NE
No fine imposed.

REST|TUT|ON
No Flestitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-20085 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

Jennifer lawrence Webber
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

J. Patten Brown

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

